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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


IOWA PUBLIC EMPLOYEES’ RETIREMENT
SYSTEM, et al.,
                                                        Case No. 17-cv-6221 (KPF)
                     Plaintiffs,

                         vs.

BANK OF AMERICA CORPORATION, et al.,

                    Defendants.


                 STIPULATED ORDER REGARDING EXTENSION OF
                 TIME TO RESPOND TO REQUESTS FOR ADMISSION
                      AND CONTENTION INTERROGATORIES

               WHEREAS, the parties exchanged requests for admission and contention

interrogatories pursuant to Rule 33.3(c) of the Local Civil Rules of the Southern District of New

York on August 19, 2020, the deadline set forth in the operative scheduling order (Dkt. 298);

               WHEREAS, the parties conferred and agreed that, given the limited period of

time between the completion of fact depositions and the November 16, 2020 deadline to

respond to requests for admission and contention interrogatories, as set forth in the Court’s

August 27, 2020 stipulated order (Dkt. 358), the current deadline to respond would be unduly

burdensome;

               WHEREAS, the parties agreed, pursuant to Rule 29(b) of the Federal Rules of

Civil Procedure, to jointly request to extend the deadline by which to respond to requests for

admission and contention interrogatories to December 11, 2020;

               NOW, THEREFORE, the parties jointly request that the Court order that the

parties shall respond to requests for admission and contention interrogatories by December 11,

2020. All other dates set forth in the Court’s Fourth Amended Civil Management Plan and

Scheduling Order (Dkt. 298) will remain unchanged by this order.
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DATED: October 29, 2020

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IT IS SO ORDERED.


DATED: _________________________   ____________________________________
                                   THE HON. KATHERINE POLK FAILLA
                                   UNITED STATES DISTRICT JUDGE
                                   SOUTHERN DISTRICT OF NEW YORK




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